                         Case 1-18-43391-cec                            Doc 4           Filed 06/13/18                   Entered 06/13/18 09:26:06



 Fill in this information to identify your case:

 Debtor 1
                     Jemela Ruby Daniels
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New YorkDistrict of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 9,640.19
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 9,640.19
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 83,864.05
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 83,864.05
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,188.26
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,145.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                        Case 1-18-43391-cec                    Doc 4     Filed 06/13/18            Entered 06/13/18 09:26:06

                  Jemela Ruby Daniels
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,526.87
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     57,000.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               57,000.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                           Case 1-18-43391-cec                  Doc 4         Filed 06/13/18          Entered 06/13/18 09:26:06
Fill in this information to identify your case and this filing:


Debtor 1
                   Jemela Ruby Daniels
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Eastern District of New York District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔    No. Go to Part 2.
        Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                         $________________ $_________________
                                                                     Investment property
                                                                                                                   Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
                      Case 1-18-43391-cec                       Doc 4       Filed 06/13/18              Entered 06/13/18 09:26:06




1.____                                                          What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put

           ________________________________________
                                                                   Single-family home                                    the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description      Duplex or multi-unit building
                                                                   Condominium or cooperative                            Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                Manufactured or mobile home
                                                                   Land                                                  $________________         $_________________

           ________________________________________
                                                                   Investment property
           City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                   Other __________________________________              the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                Who has an interest in the property? Check one.
           ________________________________________              Debtor 1 only
           County
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 At least one of the debtors and another                     (see instructions)
                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Part 2:        Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


   3.1.
                  Kia
           Make: ____________________________                   Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                   Sorrento
           Model: ____________________________                  
                                                                ✔ Debtor 1 only                                           the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                  2016                           Debtor 2 only
           Year:                 ____________
                                                                 Debtor 1 and Debtor 2 only                              Current value of the      Current value of the
                                 27000                                                                                    entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           Unknown                   0.00
           Lease. See Schedule G.                                Check if this is community property (see                $________________         $________________
                                                                    instructions)



   If you own or have more than one, describe here:
          Make: ____________________________                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
   3.2.

          Model: ____________________________                    Debtor 1 only                                           the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 Debtor 2 only
          Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                              Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
          Approximate mileage: ____________                      At least one of the debtors and another
          Other information:
                                                                 Check if this is community property (see                $________________         $________________
                                                                    instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                          Case 1-18-43391-cec                               Doc 4             Filed 06/13/18                     Entered 06/13/18 09:26:06




                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      0.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
                            Case 1-18-43391-cec                                     Doc 4               Filed 06/13/18                         Entered 06/13/18 09:26:06




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Children's bedrooms - 2 Ikea Twin beds ($300); 2 dressers ($250); Desk Lamp ($25); One full bed
    No                      ($200); 1 twin bed ($200); Wall mirror ($50); Desk lamp ($25), Living & Dining Room: Ikea Lounge
   
   ✔ Yes. Describe. ........
                             Chair ($200); 2 bookshelves ($100); Storage rack ($40); Dining Room with 4 chairs (one broken)
                             (2015) ($440), Debtor's Bedroom: Queen Size bed with frame ($200); Shoe storage rack ($30); 2
                             Ikea dressers (2012) ($300), Usual kitchen equipment (pots, pans, utensils, dishes & glasses)                                                                            2,560.00
                                                                                                                                                                                                    $___________________
                             ($150); Assorted photos and frames and wall pictures ($50)
7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    No                       Ninja Blender (2016) ($125); Sunbeam microwave (2014) ($35); Roku Stick and Amazon Firesticks
                              ($60); 3 TVs - 46" LG (2012) ($200); Walmart 42" ($200); LG 42" (2015) ($200); 2 iPhone 8 (2017)
   ✔ Yes. Describe. ........
                              ($700); iPhone 7 ($250); iPhone 6 ($200); Bose speakers (2016) ($200); Sony DVD Player (2018)
                                                                                                                                                                                                      2,210.00
                                                                                                                                                                                                    $___________________
                              ($40)
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
    No                   Canon SLR (2015)
   
   ✔    Yes. Describe. .........                                                                                                                                                                      170.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Normal worn clothing for adult female
   
   ✔    Yes. Describe. .........                                                                                                                                                                      400.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       3 Apple watches (purchased used $500); costume jewelry, no precious metals ($75)
   
   ✔    Yes. Describe. .........                                                                                                                                                                      575.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
                                 1 Shihtzu and supplies
   
   ✔    Yes. Describe. .........                                                                                                                                                                      150.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        6,065.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
                              Case 1-18-43391-cec                                              Doc 4                  Filed 06/13/18                               Entered 06/13/18 09:26:06




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
   
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      35.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                                             Institution name:


                       17.1. Checking account:
                                                                            Municipal Credit Union #1812
                                                                            ___________________________________________________________________                                                                      20.00
                                                                                                                                                                                                                    $__________________

                       17.2. Checking account:
                                                                            Capital One 360 #4924
                                                                            ___________________________________________________________________                                                                      100.00
                                                                                                                                                                                                                    $__________________
                                                                            Municipal Credit Union #18129618                                                                                                         0.00
                       17.3. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.4. Savings account:                               Capital One #99230003
                                                                            ___________________________________________________________________                                                                      25.00
                                                                                                                                                                                                                    $__________________

                       17.5. Certificates of deposit:                       ___________________________________________________________________                                                                     $__________________

                       17.6. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.7. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.8. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.9. Other financial account:                       ___________________________________________________________________                                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................                 Institution or issuer name:

                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   ✔ No                                       Name of entity:                                                                                                                      % of ownership:
    Yes. Give specific                       _____________________________________________________________________                                                                ___________%                     $__________________
       information about
       them. ........................         _____________________________________________________________________                                                                ___________%                     $__________________
                                              _____________________________________________________________________                                                                ___________%                     $__________________




                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
                            Case 1-18-43391-cec                         Doc 4         Filed 06/13/18     Entered 06/13/18 09:26:06




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   
   ✔ No

    Yes. Give specific                  Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________       $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

       account separately.                    Institution name:
       Type of account:
                                                                                                                                       220.92
                                                                                                                                      $__________________
            401(k) or similar plan: New York-Presbyterian TSA Plan
                                     ___________________________________________________________________________________
                                                                                                                                      $__________________
            Pension plan:                    ___________________________________________________________________________________
                                                                                                                                      $__________________
            IRA:                             ___________________________________________________________________________________
                                                                                                                                      $__________________
            Retirement account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Keogh:                           ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ...........................                       Institution name or individual:
                                         Electric:           ______________________________________________________________________   $___________________
                                         Gas:                ______________________________________________________________________   $___________________
                                         Heating oil:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rental unit:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Prepaid rent:       ______________________________________________________________________
                                                                                                                                      $___________________
                                         Telephone:          ______________________________________________________________________
                                                                                                                                      $___________________
                                         Water:              ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rented furniture:   ______________________________________________________________________
                                                                                                                                      $___________________
                                         Other:              ______________________________________________________________________
                                                                                                                                      $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ✔   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________

                                                                                                                                                        10
                                                                                                                                                   6 of __
                                                                                                                                              page ___
                           Case 1-18-43391-cec                          Doc 4        Filed 06/13/18            Entered 06/13/18 09:26:06




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
                            Case 1-18-43391-cec                                     Doc 4               Filed 06/13/18                         Entered 06/13/18 09:26:06




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔    Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
                                         Security   Mutual Life Insurance
                                             _______________________________________________                                                    ____________________________                           1,094.03
                                                                                                                                                                                                     $__________________
                                                       Security Mutual Life Insurance
                                                          _______________________________________________                                        Jasmine McCall
                                                                                                                                                ____________________________                           2,080.24
                                                                                                                                                                                                     $__________________
                                                             _______________________________________________                                     ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       3,575.19
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                             Case 1-18-43391-cec                                    Doc 4               Filed 06/13/18                         Entered 06/13/18 09:26:06




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                                Case 1-18-43391-cec                                      Doc 4                Filed 06/13/18                          Entered 06/13/18 09:26:06




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    0.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               6,065.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           3,575.19
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             9,640.19
                                                                                                                     $________________ Copy personal property total                                              9,640.19
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       9,640.19
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                         Case 1-18-43391-cec                     Doc 4        Filed 06/13/18                 Entered 06/13/18 09:26:06


 Fill in this information to identify your case:

                     Jemela Ruby Daniels
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New York District of __________
                                                                                        (State)
 Case number
  (If known)
                     ___________________________________________                                                                                     Check if this is an
                                                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                               Copy the value from                       Check only one box
                                                               Schedule A/B                              for each exemption
                 Household goods - Children's bedrooms - 2 Ikea                                                                         NY CPLR § 5205
 Brief        Twin beds ($300); 2 dressers ($250); Desk Lamp
 description: ($25); One full bed ($200); 1 twin bed ($200); Wall
                                                                       1,050.00
                                                                      $________________           
                                                                                                  ✔ $ ____________
                                                                                                      1,050.00
                 mirror ($50); Desk lamp ($25)                                                      100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:      6
              Household goods - Living & Dining Room: Ikea                                                                              NY CPLR § 5205
 Brief        Lounge Chair ($200); 2 bookshelves ($100);
 description: Storage rack ($40); Dining Room with 4 chairs (one      $________________
                                                                        780.00                     $ ____________
                                                                                                   ✔  780.00
              broken) (2015) ($440)                                                                 100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:      6
              Household goods - Debtor's Bedroom: Queen Size                                                                            NY CPLR § 5205
 Brief        bed with frame ($200); Shoe storage rack ($30); 2
 description: Ikea dressers (2012) ($300)                             $________________
                                                                        530.00                    
                                                                                                  ✔ $ ____________
                                                                                                      530.00
                                                                                                    100% of fair market value, up to
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                            3
                                                                                                                                                             page 1 of __
                       Case 1-18-43391-cec                        Doc 4      Filed 06/13/18          Entered 06/13/18 09:26:06

Debtor           Jemela Ruby Daniels
                _______________________________________________________                              Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Part 2:       Additional Page

            description of the property and line
         Brief                                                                                 Amount of the                        Specific laws that allow exemption
                                                                        Current value of the   exemption you claim
         on Schedule A/B that lists this property                       portion you own
                                                                       Copy the value from    Check only one box
                                                                        Schedule A/B           for each exemption
               Household goods - Usual kitchen equipment (pots, pans,                                                                NY CPLR § 5205
Brief        utensils, dishes & glasses) ($150); Assorted photos and
description: frames and wall pictures ($50)
                                                                      200.00
                                                                     $________________            200.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        6
             Electronics - Ninja Blender (2016) ($125); Sunbeam                                                                      NY CPLR § 5205
Brief        microwave (2014) ($35); Roku Stick and Amazon
description: Firesticks ($60); 3 TVs - 46" LG (2012) ($200); Walmart $________________
                                                                      2,210.00                 
                                                                                               ✔ $ ____________
                                                                                                   2,210.00
             42" ($200); LG 42" (2015) ($200); 2 iPhone 8 (2017)                                100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from ($700); iPhone 7 ($250); iPhone 6 ($200); Bose speakers
             (2016) ($200);
                     7       Sony DVD Player (2018) ($40)
Schedule A/B:
               Sports and hobby equipment - Canon SLR (2015)                                                                         N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief
description:                                                            $________________
                                                                         170.00                
                                                                                               ✔ $ ____________
                                                                                                   170.00                            Law § 283

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         9
               Clothing - Normal worn clothing for adult female                                                                      NY CPLR § 5205
Brief
description:                                                            $________________
                                                                         400.00                
                                                                                               ✔ $ ____________
                                                                                                   400.00
                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         11
               Jewelry - 3 Apple watches (purchased used $500);                                                                      NY CPLR § 5205
Brief          costume jewelry, no precious metals ($75)
description:                                                            $________________
                                                                         575.00                   575.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:          12
               Pets - 1 Shihtzu and supplies                                                                                         NY CPLR § 5205 (a)(4)
Brief
description:
                                                                         150.00
                                                                        $________________         150.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        13
               Cash on hand (Cash On Hand)                                                                                           N.Y. CPLR § 5205 (a)(9)
Brief
description:
                                                                         35.00
                                                                        $________________         35.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         16
               Municipal Credit Union #1812 (Checking)                                                                               N.Y. CPLR § 5205 (a)(9)
Brief
description:                                                            $________________
                                                                         20.00                 
                                                                                               ✔ $ ____________
                                                                                                   20.00
                                                                                                100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:          17.1
               Capital One 360 #4924 (Checking)                                                                                      N.Y. CPLR § 5205 (a)(9)
Brief
description:
                                                                         100.00
                                                                        $________________       $ ____________
                                                                                               ✔   100.00
                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         17.2
               Municipal Credit Union #18129618 (Savings)                                                                            N.Y. CPLR § 5205 (a)(9)
Brief
description:
                                                                         0.00
                                                                        $________________       $ ____________
                                                                                               ✔   0.00
                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:          17.3
               Capital One #99230003 (Savings)                                                                                       N.Y. CPLR § 5205 (a)(9)
Brief
description:                                                            $________________
                                                                         25.00                 
                                                                                               ✔ $ ____________
                                                                                                   25.00
                                                                                                100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:        17.4
               New York-Presbyterian TSA Plan                                                                                        N.Y. CPLR § 5205 (c) N.Y. Debt. &
Brief                                                                                                                                Cred. Law § 282 (2)(e)
description:
                                                                         220.92
                                                                        $________________         220.92
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:           21


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                     2     3
                                                                                                                                                      page ___ of __
                       Case 1-18-43391-cec                  Doc 4    Filed 06/13/18         Entered 06/13/18 09:26:06

Debtor           Jemela Ruby Daniels
                _______________________________________________________                     Case number (if known)_____________________________________
                First Name     Middle Name      Last Name




 Part 2:       Additional Page

            description of the property and line
         Brief                                                                         Amount of the                       Specific laws that allow exemption
                                                                Current value of the   exemption you claim
         on Schedule A/B that lists this property               portion you own
                                                               Copy the value from    Check only one box
                                                                Schedule A/B           for each exemption
               Security Mutual Life Insurance                                                                               N.Y. CPLR § 5205 (i)
Brief
description:
                                                                 2,080.24
                                                                $________________         2,080.24
                                                                                       ✔ $ ____________

                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:         31
               Security Mutual Life Insurance                                                                               N.Y. CPLR § 5205 (i)
Brief
description:                                                    $________________
                                                                 1,094.03              
                                                                                       ✔ $ ____________
                                                                                           1,094.03
                                                                                        100% of fair market value, up to
                                                                                          any applicable statutory limit
Line from
Schedule A/B:           31

Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
                                                                                          any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
                                                                                          any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________       $ ____________
                                                                                        100% of fair market value, up to
Line from                                                                                 any applicable statutory limit
Schedule A/B:


 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                 3    3
                                                                                                                                            page ___ of __
